
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 95-2086

                                  JOSEPH ARGENCOURT,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

               Gary E. Blais for appellant.
               _____________

               James H. Leavey, Assistant United States Attorney, with whom
               _______________
          Sheldon Whitehouse, United States Attorney, was on brief, for the
          __________________
          United States.

                                 ____________________

                                    March 18, 1996
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                    LYNCH, Circuit Judge.   In  his second  trip to  this
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            court, Joseph Argencourt argues  that he was denied effective

            assistance of counsel during his  criminal trial and that the

            district  court erred  in denying his  Motion to  Vacate, Set

            Aside or Correct Sentence under 28 U.S.C.   2255.  Argencourt

            was  convicted of  conspiring  with  his co-defendant  Rodney

            Andreoni to distribute cocaine.   His conviction was affirmed

            on direct appeal.  United States v. Argencourt, 996 F.2d 1300
                               _____________    __________

            (1st Cir. 1993), cert. denied, 114 S. Ct. 731 (1994).  We now
                             _____ ______

            affirm the denial of his motion under 28 U.S.C.   2255.

                    The  facts  are  set  forth  in  our  prior  opinion.

            Suffice  it  to  say  that  the  FBI,  in  the course  of  an

            undercover investigation  of insurance fraud in  Rhode Island

            and Massachusetts, learned that a target of the investigation

            -- Andreoni -- was willing to sell substantial  quantities of

            cocaine.  Recorded conversations revealed that Argencourt was

            to  be the supplier of  the cocaine.   Argencourt, having had

            prior experience with informants wearing wires, was skittish,

            became spooked, and failed  to appear to consummate  the deal

            on the designated day.  The government thus had no cocaine to













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            show, but proved  its case  through the recordings.   Id.  at
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            1302.  
            Petitioner's Burden
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                    The  arguments  properly before  this  court  fail on

            their  merits.1   Those arguments  are evaluated  against the

            heavy  burden of  proof  the law  imposes.   Argencourt  must

            demonstrate  both that trial counsel's performance fell below

            an objective standard of  reasonable effectiveness, and  that

            counsel's  deficient performance  was  so  prejudicial as  to

            undermine confidence  in  the  outcome of  the  trial.    See
                                                                      ___

            Strickland v.  Washington, 466 U.S. 668,  688-89 (1984); Lema
            __________     __________                                ____

            v. United  States,  987 F.2d  48,  51 (1st  Cir. 1993).    In
               ______________

            determining  whether trial  counsel's performance  fell below

            the relevant  objective  benchmark, "[j]udicial  scrutiny  of

            counsel's performance must be highly deferential," and "every

            effort [should]  be made to eliminate  the distorting effects

            of hindsight."  Strickland, 466 U.S. at 689.  The court "must
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            1.  Many of  the arguments Argencourt presents  to this court
            were not  raised in the  district court  and so  will not  be
            heard  here.  Among others,  he has waived  his argument that
            counsel erred in not requesting  an instruction on aiding and
            abetting liability (which, in any event, was not even charged
            in the count  of conviction).   Another of  his arguments  --
            concerning  the examination  of Special  Agent Brotan  -- was
            raised  and decided  against  him on  his  direct appeal,  on
            grounds of lack of prejudice to  Argencourt.  See Argencourt,
                                                          ___ __________
            996 F.2d at  1304.  Argencourt is not free to relitigate this
            issue.  See United States v. Michaud, 901 F.2d 5, 6 (1st Cir.
                    ___ _____________    _______
            1990) (per curiam).
                It  is unclear  whether Argencourt  also  argues that  he
            received ineffective assistance of  counsel at the sentencing
            phase, as the  issue is  mentioned but not  developed in  his
            brief.   Thus, we do  not address it.   See United  States v.
                                                    ___ ______________
            Zannino,  895 F.2d 1, 17 (1st Cir.) ("[I]ssues adverted to in
            _______
            a  perfunctory  manner,  unaccompanied  by  some   effort  at
            developed argumentation, are  deemed waived."), cert. denied,
                                                            _____ ______
            494 U.S.  1082 (1990).     The  sentence was,  in any  event,
            plainly proper under the Guidelines.

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            indulge  a  strong presumption  that counsel's  conduct falls

            within the wide range of reasonable  professional assistance;

            that is,  the defendant  must overcome the  presumption that,

            under  the  circumstances, the  challenged  action 'might  be

            considered sound  trial strategy.'"   Id. (quoting  Michel v.
                                                  ___           ______

            Louisiana, 350 U.S. 91, 101 (1955)); Lema, 987 F.2d at 51.
            _________                            ____

                    The  "prejudice" element of an ineffective assistance

            claim also presents  a high  hurdle.  "An  error by  counsel,

            even if professionally unreasonable, does not warrant setting

            aside  the judgment of a criminal proceeding if the error had

            no effect on  the judgment."   Strickland, 466  U.S. at  691.
                                           __________

            The  requisite   showing  of  prejudice  requires  more  than

            postulating  that  counsel's  "errors  had  some  conceivable

            effect  on the  outcome  of the  proceeding."   Id.  at  693.
                                                            ___

            Rather,  Argencourt must  affirmatively  prove "a  reasonable

            probability  that, but  for counsel's  unprofessional errors,

            the  result of the proceeding  would have been  different.  A

            reasonable  probability   is  a  probability   sufficient  to

            undermine  confidence   in  the   outcome."    Id.   at  694.
                                                           ___

            Argencourt has demonstrated  neither objectively  ineffective

            assistance nor prejudice.


            Conspiracy Indictment
            _____________________

                    Argencourt   argues  counsel  should  have  moved  to

            dismiss  the conspiracy  indictment  on the  grounds that  it

            failed to charge  possession with intent to  distribute.  The


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            argument is based on the mistaken  premise that possession is

            an  essential element of a conspiracy to distribute.  Indeed,

            it  is not.   The  statute that  criminalizes possession  and

            distribution makes it  unlawful to "manufacture,  distribute,

            or  dispense,   or  possess   with  intent  to   manufacture,
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            distribute, or  dispense" a controlled substance.   21 U.S.C.

              841(a) (emphasis added).   Possession has not been found to

            be   a  distinct,   essential   element  of   the  crime   of

            distribution, let alone conspiracy to distribute.  See United
                                                               ___ ______

            States v. Polan, 970  F.2d 1280, 1282 (3d Cir.  1991) ("[T]he
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            offense of  illegal drug  distribution  . . . contains  three

            essential  elements: the  [defendant] must  (1)  knowingly or

            intentionally (2) distribute  (3) a controlled  substance."),

            cert.  denied, 507  U.S.  953 (1993).    To the  extent  that
            _____  ______

            Argencourt is asserting that trial counsel should have argued

            that  the government needed to  prove possession as an "overt

            act" in furtherance of the charged conspiracy,  he is clearly

            wrong.   See United  States v. Shabani,  115 S. Ct.  382, 386
                     ___ ______________    _______

            (1994)  (holding that proof of  an overt act  is not required

            for conviction under 21 U.S.C.   846).


            Tapes
            _____

                    Argencourt is bound by the prior ruling of this court

            concerning  his challenge  to the  replaying of  a particular

            tape to the  jury, at its request, during  its deliberations.

            See  Argencourt,  996 F.2d  at 1305  n.6.   Variants  of this
            ___  __________


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            claim, which Argencourt  did not argue  on direct appeal  but

            argues  now,  fare no  better.   He focuses  on  a tape  of a

            conversation between  himself, his co-defendant  Andreoni, an

            FBI  agent, and  an undercover informant.   He  contends that

            trial counsel should  have objected to admission  of the tape

            on  grounds that it was  inaudible.  The  asserted problem of

            the  tape  being  inaudible,  however,  appears  to  be  more

            asserted  than a  problem.   The  trial  judge alone  of  the

            listeners had  a  defective earphone  (which  was  replaced);

            counsel  explicitly  stated  that he  was  able  to hear  the

            recorded conversations; and there  was no indication from the

            jury of  any problem in  hearing the tape,  in the face  of a

            prior instruction from the court to raise their hands if they

            could  not hear.  Moreover,  the jurors were  provided with a

            transcript of the tape.  The choice by defense counsel not to

            have the tape highlighted by questioning jurors about whether

            they  heard it was a classic strategy choice, not amenable to

            attack under  the guise of ineffective assistance.  See Lema,
                                                                ___ ____

            987 F.2d at 55-56.

                    Argencourt makes the additional argument that defense

            counsel should have insisted that the entire tape recordings,

            not  just  redacted versions,  be played  to  the jury.   But

            certainly, trial  counsel's decision  not to demand  that the

            tapes  be  played  in their  entirety  was,  on  its face,  a

            strategic choice  to try to limit  what the jury heard.   See
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            Lema,  987 F.2d at 55-56.   Further, defendant  has failed to
            ____

            show  any prejudice.   He  has had  access to  the unredacted

            tapes since before trial.  It  is his burden to show that the

            tapes contained unplayed   exculpatory material  or otherwise

            undermined  confidence in  the  outcome of  the  trial.   See
                                                                      ___

            Strickland, 466 U.S. at 694.  That he has not done.
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            "Newly Discovered" Evidence
            ___________________________

                    Argencourt  argues  that  he   was  entitled  to   an

            evidentiary  hearing  in  the  district  court  to  determine

            whether certain "newly discovered evidence," which he asserts

            should have  been discovered by trial  counsel, requires that

            his  motion  be granted.   He  argues  that counsel  erred in

            failing  to adduce proof that phone lines were not working at

            a place called the  "Phone Connection," from which a  call to

            him  was purportedly made on the date the cocaine deal was to

            be  consummated.  He claims he first learned, while in prison

            for this offense, from  the "CEO of the Phone  Connection" (a

            fellow prisoner) that  the Phone  Connection's phone  service

            had  been stopped.  From this he argues that his co-defendant

            Andreoni could not  have made a  call to him  from the  Phone

            Connection in furtherance of the drug deal, as the government

            asserted  at trial.    He  asserts  that  this  evidence  was

            "discovered"  after  the  district court  denied  his    2255

            motion.  The government  says there is nothing new  about the

            Phone Connection evidence, that it  was well known to defense


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            counsel  before  trial,  and  that  the jury  even  had  such

            evidence  before it.  In  all events, Argencourt  did not ask

            the district court to consider this evidence or to give him a

            hearing, and so has waived the argument.

                    Even if the  claim had been properly  raised, and the

            evidence truly  "newly discovered,"  it would still  fall far

            short.   Even should  the phone call  not have  been made  to

            Argencourt from his co-defendant from the listed lines at the

            Phone  Connection   on  the   scheduled  date  of   the  drug

            transaction,  no  resulting prejudice  could  be established.

            The  jury could have credited the testimony before it that an

            illegal  line was rigged and used for the call.  Argencourt's

            suggestion  that  phone  company  records  (which  Argencourt

            asserts trial counsel should  have obtained) would have shown

            that telephone service had  been cancelled amounts to naught.

            To  the extent  that the  phone call  testimony at  trial was

            relevant to establish that Argencourt, on the scheduled date,

            was in the  vicinity of  the location where  the parties  had

            agreed the drug transaction  would be completed,  independent

            evidence that  his  car was  seen  in the  area at  the  time

            undercuts the  utility of  this "newly  discovered evidence."

            Furthermore,  if  the  phone  call   testimony  was  somewhat

            relevant to the government's case in support of the charge of

            attempting  to  distribute  drugs  (of  which  Argencourt was

            acquitted),   it   had  little   apparent   bearing  on   the



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            government's case in support of the  conspiracy charge.  That

            case,  which  was based  primarily  on  the earlier  recorded

            conversations between  Argencourt, Andreoni, and  FBI agents,

            would  have  been  unaffected  by  the  status  of  the Phone

            Connection's  telephones.   Thus,  Argencourt  has  shown  no

            prejudice from  any failure by  trial counsel  to obtain  the

            Phone Connection evidence.


                    Affirmed.
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